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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )          Case No. 8:06CR23
                                          )
                     Plaintiff,           )
                                          )
       v.                                 )                  ORDER
                                          )
MARQUE MILLER,                            )
                                          )
                     Defendant.           )


       IT IS ORDERED that, the parties’ joint oral motion to continue trial is granted, jury

trial for the defendant, Marque Miller, is rescheduled before the undersigned in Courtroom

No. 3, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on

February 26, 2007 at 8:30 a.m. The time between 1/29/07 and 2/26/07 is deemed

excludable under the Speedy Trial Act. Since this is a criminal case, the defendant shall

be present, unless excused by the court. If an interpreter is required, one must be

requested by the plaintiff in writing five (5) days in advance of the scheduled hearing.

       DATED this 30th day of January, 2007.

                                          BY THE COURT:


                                          s/Joseph F. Bataillon
                                          JOSEPH F. BATAILLON
                                          United States District Judge
